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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

In re:                                          )
                                                )
         STEVEN J. LAMONS, SR.,                 )       Case No. 6:18-bk-04958-CCJ
         BRENDA M. LAONS,                       )       Chapter 7
                                                )
                Debtors.                        )

                      REPORT AND NOTICE OF TRUSTEE'S
               INTENTION TO ABANDON PROPERTY OF THE ESTATE

TO:             All Interested Parties
FROM:           Emerson C. Noble, Trustee


             NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING
         Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this
paper without further notice or hearing unless a party in interest files an objection within
fourteen (14) days from the date set forth on the attached proof of service plus an
additional three (3) days for service if any party was served by U.S. mail.
         If you object to the relief requested in this paper, you must file a response with the
Clerk of the Court at 400 W. Washington Street, Suite 5100, Orlando, Florida 32801 and
serve a copy on Emerson C. Noble, Trustee, Post Office Box 622798, Oviedo, Florida
32762-2798, and any other appropriate persons within the time allowed. If you file and
serve a response within the time permitted, the Court will either schedule and notify you
of a hearing, or consider the response and grant or deny the relief requested without a
hearing.
         If you do not file a response within the time permitted, the Court will consider that
you do not oppose the relief requested in the paper, will proceed to consider the paper
without further notice and hearing, and may grant the relief requested.
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       Pursuant to 11 U.S.C. §554, and F.R.B.P. 6007, notice is hereby given of the

abandonment of all right, title and interest in the property described below:


 Real property with an address of 463 Sunshine Avenue, Lady Lake, Florida 32159; and
     421 Tropic Circle, Fruitland Park, Florida 34731 (collectively the “Property”).

       The Property is being abandoned for the following reasons:

       1. The Property is subject to a lien which is equal to or greater than its value or the

Property is of nominal value to the estate.

       2. Further administration of the Property is burdensome to the estate.

       Dated: September 27, 2018.

                                      /s/ Emerson C. Noble, Trustee
                                      Emerson C. Noble, Trustee
                                      Post Office Box 622798
                                      Oviedo, Florida 32762-2798
                                      Phone: (407) 628-9300
                                      Facsimile (407) 647-6452

       I HEREBY CERTIFY that a true copy of the foregoing was furnished either

electronically or by First-Class United States Mail, postage prepaid, this 14th day of

June 2018 to all persons on the current mailing matrix attached to the original of this

document.


                                      /s/ Emerson C. Noble, Trustee
                                      Emerson C. Noble, Trustee




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